Case 1:21-cv-01155-TLA Document 24 Filed 09/09/22 Page 1 of 3 PageID #: 6869




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

 In re:                                             Chapter 11

 MALLINCKRODT PLC, et al.,                          Case No. 20-12522 (JTD)
                                                    (Jointly Administered)
                          Debtors.

 City of Marietta,

                  Appellant,                        Civil Action No. 1:21-cv-01155 (TLA)

           v.

 Mallinckrodt plc, et al.,

                  Appellee.


                   JOINT PROPOSED AMENDED BRIEFING SCHEDULE

          Appellant the City of Marietta (“Appellant”), Appellees Mallinckrodt plc and its affiliated

debtors in possession in the above-captioned cases (“Appellees”), and the Gseneral Unsecured

Claims Trustee appointed in Appellees’ above-captioned Chapter 11 Case, by and through

undersigned counsel, hereby respectfully request this Court approve the following amendments to

the current briefing schedule ordered by this Court on June 15, 2022 [ECF 23]:

       Brief to be Filed                  Current Deadline          Proposed Amended Deadline
  Appellant’s Opening Brief              September 20, 2022              January 20, 2023
  Appellees’ Opposition Brief             October 20, 2022               February 21, 2023
   Appellant’s Reply Brief               November 4, 2022                 March 8, 2023
Case 1:21-cv-01155-TLA Document 24 Filed 09/09/22 Page 2 of 3 PageID #: 6870




Dated: September 9, 2022

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Case 1:21-cv-01155-TLA Document 24 Filed 09/09/22 Page 3 of 3 PageID #: 6871




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